                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

CAITLIN O’CONNOR,                                      )
                                                       )   Case No. 3:20-cv-00628
        Plaintiff,                                     )
                                                       )   District Judge Richardson
v.                                                     )
                                                       )   Magistrate Judge Frensley
THE LAMPO GROUP, LLC,                                  )
                                                       )   Jury Demand
        Defendant.                                     )

                                  CONFIDENTIALITY ORDER

        Before the Court is a motion filed by Defendant, The Lampo Group, LLC, to enter this

Confidentiality Order (Doc. #14). After reviewing Defendant’s motion and given no opposition

from Plaintiff, Defendant’s motion is GRANTED and the Court ORDERS the following:

     1. This Order will govern information and documents designated by any party as

        “Confidential.”

     2. Any party may, in good faith, designate the following types of information or documents

        as Confidential:

            a. Plaintiff’s protected health information;

            b. Plaintiff’s financial information;

            c. Information regarding Plaintiff’s employment with Defendant;

            d. Information regarding current and former employees of Defendant who are

                similarly situated to Plaintiff; and

            e. Any other information agreed upon by the parties.




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3. The parties will designate information or documents as Confidential as follows:

        a. A document may be designated as Confidential by (i) affixing the term

            CONFIDENTIAL on the document or (ii) providing a Confidentiality Log to the

            other parties that identifies and designates the document;

        b. A tangible object, other than a document, may be designated as Confidential by

            (i) affixing the term CONFIDENTIAL on the object or (ii) providing a

            Confidentiality Log to the other parties that identifies and designates the object;

            and

        c. Deposition testimony may be designated as Confidential by (i) identifying and

            designating the testimony on the record during the deposition or (ii) after receipt

            of the deposition transcript, providing a Confidentiality Log to the other parties

            that identifies and designates the testimony.

4.   The parties will only use information and documents designated as Confidential for

     purposes of this case and any appeals therefrom. However, this Order does not restrict a

     party’s use of information or documents that were in their lawful possession at the

     commencement of this case.

5. Information designated as Confidential may only be disclosed to the following:

            a. The parties;

            b. The parties’ attorneys of record in this case and their staff;

            c. Outside consultants (including expert witnesses) engaged by a party, but only

                  if they are first provided with a copy of this Order and agree in writing to be

                  bound by it;




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               d. Court reporters and their staff who are engaged to record, transfer, and/or

                  store deposition transcripts and/or video depositions during this case and any

                  appeals therefrom;

               e. Mediators selected by the parties to attempt to mediate this case and their

                  staff;

               f. The Court and its staff;

               g. The Jury; and

               h. Anyone else upon written consent of the designating party.

  6. The parties will resolve any disagreements regarding the designation of information or

     documents as Confidential pursuant to the Court’s procedures for discovery disputes.

  7. Any party who files information or documents that have been designated as Confidential

     must move the Court for leave to do so under seal. The party who designated the

     information or documents will bear the burden of proving—either via a motion for leave

     to file under seal or response thereto—that the information or documents should be

     sealed.

  8. This Order will remain in effect following the conclusion of this case. Within 45 days of

     the conclusion of this case and any appeals therefrom, each party will return or destroy all

     information and documents in their possession that have been designated by another party

     as Confidential. However, the parties may retain any information and documents that

     were in their lawful possession at the commencement of this case.

IT IS SO ORDERED.



                                             JEFFREY S. FRENSLEY
                                             United States Magistrate Judge

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